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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Berl McKinnie,

              Plaintiff,                      Case No. 14 C 9588

              v.
                                              Judge John Robert Blakey
Thomas Dart and Cook County, Illinois,

              Defendants.


                      MEMORANDUM OPINION AND ORDER

       This action arises from the allegedly inadequate housing accommodations

provided to Plaintiff Berl McKinnie, a disabled detainee housed at Cook County Jail

from November 4, 2012 to April 18, 2013.         Plaintiff brings claims under the

Fourteenth Amendment, Title II of the Americans with Disabilities Act (“ADA”) and

the Rehabilitation Act against Defendants Sheriff Thomas Dart, in both his

individual and official capacities, and Cook County, Illinois (“Cook County”).

Defendants now move [49] for summary judgment. The motion is granted in part

and denied in part.

I.     Legal Standard

       Summary judgment is appropriate if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law. Spurling v. C & M Fine Pack, Inc., 739 F.3d 1055, 1060 (7th Cir.

2014). A genuine dispute as to any material fact exists if “the evidence is such that

a reasonable jury could return a verdict for the nonmoving party.” Anderson v.
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Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).            The party seeking summary

judgment has the burden of establishing that there is no genuine dispute as to any

material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). In determining

whether a genuine issue of material fact exists, this Court must construe all facts

and reasonable inferences in the light most favorable to the nonmoving party, here,

Plaintiff. CTL ex rel. Trebatoski v. Ashland School District, 743 F.3d 524, 528 (7th

Cir. 2014).

II.     Facts 1

        Plaintiff Berl McKinnie, who has had a prosthetic right leg since 1993, was a

pre-trial detainee housed at Cook County Jail from November 4, 2012 to April 18,

2013. DSOF ¶ 10; PSOAF ¶¶ 1, 3. Upon arrival, Plaintiff told the intake officer

that he had a prosthesis, which was recorded on Plaintiff’s intake form, and that he

found it challenging to walk long distances.          PSOAF ¶¶ 6, 8.         Plaintiff also

requested a handicap accessible housing assignment. PSOAF ¶ 7. That did not

happen. From November 5 to 15, 2012, Plaintiff instead was assigned to Division 5,

which was not handicap accessible.          DSOF ¶ 21; PSOAF ¶¶ 1-2.             Then, on

November 15, 2012, Plaintiff was transferred to Division 2, Dorm 2, Living Unit V,

which also was not handicap accessible, and he stayed there until his release on

April 18, 2013. DSOF ¶ 26; PSOAF ¶¶ 2-3. Plaintiff was assigned to a cell on the




1 The facts are taken from the parties’ Local Rule 56.1 statements and the exhibits thereto.
“DSOF” refers to Defendants’ statement of undisputed facts [50], with Plaintiff’s responses
[55]. “PSOAF” refers to Plaintiff’s statement of additional facts [55], with Defendants’
responses [58].
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third floor. DSOF ¶ 25. In Division 2, Dorm 2, only Living Units M and N were

handicap accessible. PSOAF ¶ 4.

       Plaintiff testified about the challenges he faced residing in Living Unit V:

   •   Plaintiff was unable to shower and only could wash his upper body in the
       sink. DSOF ¶¶ 38, 40; 7/18/13 McKinnie Dep. at 48-49. The showers in
       Living Unit V lacked “grab bars,” and Plaintiff feared slipping on the wet
       shower floor. DSOF ¶ 39. Plaintiff also was unable to stand for the duration
       of a shower. DSOF ¶ 39.

   •   Medications were dispensed on the second floor and dinner on the first floor,
       so Plaintiff had to traverse multiple flights of stairs daily. DSOF ¶¶ 34-36,
       53. Plaintiff testified that, as a result of having to walk up and down the
       stairs, his skin peeled off where his amputated right leg met his prosthetic
       limb. DSOF ¶ 65.

   •   Only with the assistance of others, Plaintiff was able to use the toilets in
       Living Unit V. DSOF ¶ 44. Plaintiff testified that the toilets lacked
       handrails and were too low to the floor for Plaintiff to use without assistance.
       DSOF ¶ 44; PSOAF ¶ 19.

Plaintiff, at certain unidentified times, asked prison officials to move him to a

handicap accessible living unit and provide him with a shower chair. DSOF ¶¶ 41-

42; PSOAF ¶ 12. His requests were unsuccessful. DSOF ¶¶ 41-42. Plaintiff finally

obtained some success in February 2013, when he again asked for a shower chair,

this time during a medical appointment, and received a chair two or three days

later. DSOF ¶¶ 62-63.

       While Plaintiff was incarcerated, between November 4, 2012 and April 18,

2013, there was no written policy for a disabled detainee such as Plaintiff to request

a transfer to a handicap accessible living unit. PSOAF ¶ 11. When asked how a

disabled detainee could have requested a relocation to a handicap accessible living

unit during that time, Superintendent Salomon Martinez testified, at his deposition

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while acting as the Sheriff of Cook County’s Rule 30(b)(6) corporate representative,

that the detainee should have told a correctional officer: “I’m having a problem

moving.” Martinez Dep. at 14, quoted at PSOAF ¶ 11. The correctional officer then,

according to Superintendent Martinez, would have relayed the message to his

Lieutenant or Commander, and the detainee would have been moved. PSOAF ¶ 11.

More than one year after Plaintiff left Cook County Jail, Sheriff Dart issued a

General Order, effective August 14, 2014, for housing and accommodating disabled

detainees, including ones with mobility impairments. General Order 24.14.8.0 [50-

10] §§ VIII(C) and (F), cited at DSOF ¶ 76 and PSOAF ¶ 28.

III.   Analysis

       A.    Fourteenth Amendment Claim

       Through 42 U.S.C. § 1983, Plaintiff first alleges that Sheriff Dart, in both his

individual and official capacities, violated the Fourteenth Amendment by not

accommodating Plaintiff’s disability. This Court considers each claim in turn, and

concludes that Plaintiff may proceed to trial with his official capacity claim only.

             1.     Individual Capacity

       To prove a claim for denial of medical care, Plaintiff must show: (1) that he

had an objectively serious medical condition; (2) that Sheriff Dart knew of the

condition and was deliberately indifferent to treating Plaintiff; and (3) that this

indifference caused Plaintiff some injury. Gayton v. McCoy, 593 F.3d 610, 620 (7th

Cir. 2010). Under the second prong, which is all that is at issue here, Sheriff Dart

must have had subjective knowledge of the risk to the detainee’s health, and he also



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must have disregarded that risk. Collins v. Seeman, 462 F.3d 757, 761 (7th Cir.

2006). Evidence that the official acted negligently is insufficient to prove deliberate

indifference. Hicks v. Churchich, 161 F.3d 1030, 1040 (7th Cir. 1998). Rather,

“deliberate indifference” is simply a synonym for “intentional or reckless conduct,”

and “reckless” describes conduct so dangerous that the deliberate nature of the

defendant’s actions can be inferred. Qian v. Kautz, 168 F.3d 949, 955 (7th Cir.

1999). Even without direct participation, a supervisor may be liable if he knew

about the constitutional deprivation and facilitated, approved, condoned or turned a

blind eye to that conduct. Jones v. City of Chicago, 856 F.2d 985, 992-93 (7th Cir.

1998); Gentry v. Duckworth, 65 F.3d 555, 561 (7th Cir. 1995).          Circumstantial

evidence is appropriate proof of deliberate indifference.       Foelker v. Outagamie

County, 394 F.3d 510, 513 (7th Cir. 2005).

      Instructive is the Seventh Circuit’s decision in Luck v. Rovenstine, 168 F.3d

323, 325, 327-28 (7th Cir. 1999), where the detainee did not prevail on summary

judgment under circumstances more compelling than here. Plaintiff William Luck

was arrested by an Indiana state trooper acting without a warrant; turned over to

the custody of the Kosciusko County, Indiana, Sheriff, Al Rovenstine; and jailed for

more than one week at the Kosciusko County Jail without receiving a probable

cause hearing.    Id. at 324-25.       Probable cause hearings typically are conducted

within 48 hours of arrest. Id. at 324. Luck, alleging Fourth Amendment and due

process violations through Section 1983, sued Sheriff Rovenstine in his individual

and official capacities. Id. at 325.



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      Upon moving for summary judgment, Sheriff Rovenstine defeated the claim

against him in his individual capacity (but not his official capacity, as discussed

below) by showing that he lacked the kind of personal involvement required for

individual liability to attach in Section 1983 cases. Id. at 327-28. To show personal

involvement, Luck argued liability against Sheriff Rovenstine because: (1) he would

have known about Luck’s detention through the jail roster; (2) he monitored when

detainees had their probable cause hearings if they were arrested by his own

officers, but he had a policy of ignoring pretrial detainees brought into Kosciusko

County by outside agencies (such as Indiana State Troopers), to avoid “turf wars”;

and (3) he declined to act in the face of prolonged detentions. Id. 325, 327. Sheriff

Rovenstine, at his deposition, admitted that he did not monitor the hearing

schedule for detainees brought in by outside agencies and further admitted that,

while he was unaware of Luck’s specific situation, it was not unusual for detainees

brought in by outside agencies not to receive timely hearings. Id. at 325. This

evidence, which is more compelling than here, still was not enough for Luck to

survive summary judgment. The Seventh Circuit, citing its deliberate indifference

decision in Gentry, 65 F.3d at 561, found that the evidence against Sheriff

Rovenstine, even when taken as true at the summary judgment stage, did not rise

to the level of personal involvement required in Section 1983 cases. Luck, 168 F.3d

at 327. This case mirrors Luck, so the Seventh Circuit’s decision controls and shows

that Plaintiff can fare no better against Sheriff Dart.




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        As in Luck, here, Plaintiff relies on Sheriff Dart’s general knowledge of the

obstacles faced by disabled detainees at Cook County Jail in an effort to establish

his personal involvement. Plaintiff relies most heavily on the settlement reached

in an earlier class action lawsuit brought in this District and captioned Phipps v.

Sheriff of Cook County, Case No. 07-3889. In Phipps, the Sheriff of Cook County

settled claims that prison officials were not providing reasonable housing

accommodations to wheelchair bound inmates.         PSOAF ¶¶ 23-24.      While those

obstacles may have been the product of Sheriff Dart’s own policies at Cook County

Jail, Luck shows that whatever knowledge Sheriff Dart may have acquired from the

Phipps settlement, without more, fails to create the kind of personal involvement by

Sheriff Dart that is required for Plaintiff to proceed to trial against him. Like

Sheriff Rovenstine in Luck, there is no evidence here that Sheriff Dart was aware of

Plaintiff’s specific situation even though he might have known generally that

disabled detainees at Cook County Jail were not receiving adequate housing

accommodations. Plaintiff admitted at his deposition that he never wrote to Sheriff

Dart, let alone about his allegedly inadequate housing accommodations. DSOF ¶

58.

        One final point bears noting.    Analogous cases cite the Seventh Circuit’s

decision in Gentry when allowing the claim against Sheriff Dart in his individual

capacity to proceed at the more lenient motion to dismiss stage. These cases cite

Gentry for the proposition that Sheriff Dart’s knowledge that disabled detainees

were not receiving adequate housing assignments, combined with his failure to



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rectify that problem, are sufficient to establish individual liability. E.g., Blossom v.

Dart, 64 F. Supp. 3d 1158, 1162 (N.D. Ill. 2014); Crockwell v. Dart, No. 13-4880,

2013 WL 6796788, at *4 (N.D. Ill. Dec. 23, 2013); Lawrence v. Dart, No. 13-2053,

2013 WL 3672090, at *3 (N.D. Ill. July 12, 2013); Whisby v. Dart, 12-8637 (N.D. Ill.

Feb. 14, 2013).    Gentry, however, does not save Plaintiff’s claim at the more

demanding summary judgment stage.

      In Gentry, 65 F.3d at 557, 561, the Seventh Circuit reversed the district

court’s grant of summary judgment and allowed Kenneth Gentry, the incarcerated

plaintiff, to proceed with his claim that the prison superintendent was individually

liable for ordering that inmates be denied scribe materials, even though the

superintendent’s order was not directed at Gentry specifically. Had that been the

sole basis of establishing personal involvement in Gentry, then denial of summary

judgment might have been warranted here. But it was not the sole basis in Gentry;

nor can that be the takeaway after the Seventh Circuit’s subsequent decision in

Luck, which cited Gentry.     Unlike here, the inmate in Gentry also sent “many

letters” to the superintendent, which the Seventh Circuit found created a triable

issue of fact as to personal involvement. Gentry, 65 F.3d at 561. Even with those

letters, the Seventh Circuit characterized its decision to reverse summary judgment

as “close.” Gentry, 65 F.3d at 561. Today’s decision is not.

      For these reasons, Plaintiff’s claim against Sheriff Dart in his individual

capacity is denied. Having found that Sheriff Dart lacked personal involvement,

this Court need not address whether he also is entitled to qualified immunity.



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             2.     Official Capacity

      A suit against Sheriff Dart in his official capacity is treated as one against

the government entity itself, here, the Sheriff of Cook County. Walker v. Sheahan,

526 F.3d 973, 977 (7th Cir. 2008). To prevail on his official capacity claim, Plaintiff

must show that he suffered a constitutional injury, and that injury was caused by:

(1) an express policy; (2) a widespread practice that is so permanent and well-

settled as to constitute a custom or usage with the force of law; or (3) a person with

final policy-making authority. Klebanowski v. Sheahan, 540 F.3d 633, 637 (7th Cir.

2008); see also Monell v. Department of Social Services of City of New York, 436 U.S.

658, 690-91 (1978). Under the third prong, Sheriff Dart had final policy-making

authority at Cook County Jail. 730 ILCS 125/2; DeGenova v. Sheriff of DuPage

County, 209 F.3d 973, 975-76 (7th Cir. 2000). If the Sheriff of Cook County is faced

with actual or constructive knowledge that its agents probably will violate

constitutional rights, then it may not adopt a policy of inaction. King v. Kramer,

680 F.3d 1013, 1021 (7th Cir. 2012).

      Here, Plaintiff argues that the Sheriff of Cook County adopted an

unconstitutional policy of inaction: it knew that correctional officers had not been

providing reasonable housing accommodations to disabled detainees yet failed to

react until August 2014. PSOAF ¶¶ 28-29. To show the Sheriff of Cook County’s

knowledge, Plaintiff relies on: (1) the Phipps litigation, where Sheriff Dart learned,

no later than the 2010 class action settlement, that disabled detainees had not been

receiving adequate housing assignments; and (2) the subsequent implementation of



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General Order 24.14.8.0 for housing and accommodating disabled detainees.

PSOAF ¶¶ 23-24, 28.      Contrary to Defendants’ argument, therefore, the Phipps

settlement shows that Plaintiff is not relying only on a single incident of alleged

wrongdoing.

      Plaintiff’s evidence is sufficient to create a triable issue of fact. In King, 680

F.3d at 1020-21, the Seventh Circuit reversed the district court’s grant of summary

judgment for La Crosse County on the inmate’s Monell claim. The Court explained

that there was a triable issue of fact as to whether La Crosse County had sufficient

notice (namely, through newspaper articles and evidence of internal discussions at

the County) of the fact that the physician and medication policies in effect at the

county jail had resulted in deficient medical care. Id. at 1021. The information La

Crosse County learned from newspaper reports of detainees not receiving proper

medication is akin to the knowledge the Sheriff of Cook County purportedly learned

from a class action lawsuit raising issues of deficient care and the subsequent

settlement.

      Likewise, Luck again guides this Court’s decision. While denying Luck’s (the

detainee) claim against Sheriff Rovenstine in his individual capacity for lack of

personal involvement, the Seventh Circuit still allowed Luck to proceed with his

claim against Sheriff Rovenstine in his official capacity. Luck, 168 F.3d at 325-27.

Through Sheriff Rovenstine (who like Sheriff Dart had final policy-making

authority), Kosciusko County had given greater weight to avoiding conflict with

other agencies, than it did to the preservation of detainees’ constitutional rights.



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Id. at 326-27. Also similar to here, there was no dispute in Luck that the county

knew constitutional violations were occurring. Sheriff Rovenstine testified that it

was not unusual for detainees brought in by other agencies not to receive timely

hearings. Id. at 325. This case thus tracks King and Luck, and summary judgment

is not warranted.

      Defendants also argue that any unconstitutional policy did not injure

Plaintiff because, for example, he was able to maintain his hygiene despite being

unable to shower. The Seventh Circuit has held that limiting inmates to weekly

showers does not state a constitutional injury, Jaros v. Illinois Department of

Corrections, 684 F.3d 667, 670-71 (7th Cir. 2012), but, based on the present record,

Plaintiff may not have been able to wash his lower body even that often while

housed in Division 2. DSOF ¶¶ 39-40; PSOAF ¶ 18; 7/18/13 McKinnie Dep. at 48-

49. The Court in Hernandez v. Dart, No. 14-1236, 2014 WL 3511516, at *3-4 (N.D.

Ill. July 16, 2014), moreover, surveyed the case law in this District and concluded

that disabled detainees sufficiently pled an injury where the complaint showed that

they could not shower, for example, or were otherwise injured or exposed to such a

risk because Cook County Jail did not accommodate their disabilities. There is

another actionable injury here as well.     Plaintiff testified that he suffered skin

irritation caused by his prosthesis rubbing against his leg when he walked up and

down stairs at Cook County Jail. PSOAF ¶¶ 13-14. Defendants question Plaintiff’s

credibility, see DSOF ¶¶ 12-14, 17, but this is not the kind of issue that is amenable

to resolution at the summary judgment stage.



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      For these reasons, Plaintiff may proceed with his Fourteenth Amendment

claim against Sherriff Dart in his official capacity.

      B.     ADA and Rehabilitation Act Claims

      This Court turns next to Plaintiff’s statutory claims under Title II of the ADA

and the Rehabilitation Act for failure to accommodate his disability. The relief

available to Plaintiff under both statutes is coextensive. Jaros, 684 F.3d at 671

(comparing 29 U.S.C. § 794A with 42 U.S.C. § 12117). Thus, with respect to this

lawsuit, the analysis governing each statute is the same, except that the

Rehabilitation Act includes as an additional element the receipt of federal funds,

which all states, including Illinois, accept for their prisons. Jaros, 684 F.3d at 671-

72; see also PSOAF ¶ 22 (undisputed that the Sheriff of Cook County received

federal funds in 2010, 2011 and 2012).

      To state a claim under the ADA and the Rehabilitation Act, Plaintiff must

show: (1) he is a qualified person (2) with a disability and (3) Defendants denied

him access to a program or activity because of his disability. Wagoner v. Lemmon,

778 F.3d 586, 592 (7th Cir. 2015); Jaros, 684 F.3d at 672.         Refusing to make

reasonable accommodations that a disabled individual requires to access a program

or activity is tantamount to denial under the third element. Jaros, 684 F.3d at 672.

The first two elements are not in dispute, so this Court addresses the third element

only and separates its analysis, as the parties did, into two parts—whether

Defendants denied Plaintiff access to a program or activity (Subsection 1) because of

his disability (Subsection 2).



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               1.    Denial of Access to Programs and Activities

        Access to certain housing facilities, including showers, toilets and sinks in a

prison setting, are among the programs and activities protected by Title II of the

ADA and the Rehabilitation Act. Jaros, 684 F.3d at 672; Phipps v. Sheriff of Cook

County, 681 F. Supp. 2d 899, 916 (N.D. Ill. 2010); see generally Pennsylvania

Department of Corrections v. Yeskey, 524 U.S. 206 (1998). But the public entity

(here, the Sheriff of Cook County) must have knowledge of the individual’s

disability and the individual’s need for an accommodation before it can be required

under    the   ADA    and   the   Rehabilitation   Act   to   provide   any   reasonable

accommodations. Robertson v. Las Animas County Sheriff’s Department, 500 F.3d

1185, 1196-98 (10th Cir. 2007); Kiman v. New Hampshire Department of

Corrections, 451 F.3d 274, 283 (1st Cir. 2006). That knowledge either can derive

from the individual’s request for an accommodation or, in other cases, will be

imputed onto the public entity because the individual’s need for an accommodation

is “obvious.” Robertson, 500 F.3d at 1196-98; Kiman, 451 F.3d at 283. Both cases

have been credited in this District. Phipps, 681 F. Supp. 2d at 926-27.

        Defendants argue that they lacked knowledge that Plaintiff required, but was

not receiving, accommodations because Plaintiff never made a formal request for a

shower chair or other housing accommodations.            Defendants argue that when

Plaintiff did request a shower chair at a medical appointment in February 2013

(and setting aside whether this was in fact a formal request), he received one within




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three days of his request.    DSOF ¶¶ 62-63.      This argument fails at summary

judgment for two independent reasons.

       First, Plaintiff testified at his deposition that he made earlier requests (the

exact dates of which are not in the record) for a shower chair that were denied.

DSOF ¶ 42; PSOAF ¶ 12; 5/15/15 McKinnie Dep. at 33. Those requests were not

made through the formal request procedures at Cook County Jail, but a formal

request was not required, contrary to Defendants’ argument. In Kiman, 451 F.3d at

289, the district court granted summary judgment, emphasizing that the inmate

never made a formal request, such as through an inmate request slip or a grievance,

to be moved to a lower tier and have his bottom bunk pass honored. The First

Circuit, however, reversed, finding that the inmate’s unheeded requests to

correctional officers nonetheless created a triable issue of fact as to the ADA claim.

Id. at 289-90. The same is true here.

       Second, even if Plaintiff had not made these requests, there nonetheless

would be a triable issue of fact as to whether Plaintiff’s need for housing

accommodations was “obvious.” Robertson, 500 F.3d at 1196-98; Kiman, 451 F.3d at

283.   On November 4, 2012, Plaintiff told the booking officer that he had a

prosthetic leg, and the booking officer noted that in the intake form. PSOAF ¶ 8.

That may be enough.      Superintendent Martinez testified, when deposed as the

Sheriff of Cook County’s corporate representative, that it was not permissible to

assign a detainee who required a medical device to walk to non-accessible living

units in Division 2:



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      Q.     Is it permissible for the defendants to house or assign an inmate
             who requires a medical device to walk to another Division II tier
             other than M or N.
      A.     To my knowledge, no.

Martinez Dep. at 11; see also PSOAF ¶ 10. If a prosthetic leg were not an obvious

enough sign that housing accommodations were required, and Superintendent

Martinez’s testimony shows that it may have been, Plaintiff testified that he also

expressly requested a handicap accessible housing placement both during intake

and after being assigned to Living Unit V in Division 2. DSOF ¶ 41; PSOAF ¶¶ 7-8.

      These facts make this case analogous to Robertson, 500 F.3d at 1196-98,

where a triable issue of fact existed as to whether the deaf detainee’s need for

hearing accommodations, such as a teletype (“TTY”) machine, were obvious. Even

though the detainee never expressly requested hearing assistance, the booking

officer knew the detainee was deaf, and, as with mobility limitations, the Tenth

Circuit found that a reasonable jury could conclude that the county jail’s knowledge

that the detainee required communication accommodations flowed from knowledge

of his deafness. Id. at 1198.

             2.     Intentional Discrimination

      The Seventh Circuit has not yet addressed what needs to be proven to show

“intentional discrimination,” as required under the third part of the ADA and

Rehabilitation Act test, and other Circuits are split. CTL, 743 F.3d at 528 n.4. The

majority approach, which has been applied by at least one other Court in this

District, e.g., Phipps, 681 F. Supp. 2d at 918, is to apply a deliberate indifference

standard. Deliberate indifference does not require personal animosity or ill will but

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rather may be inferred when there is knowledge that a harm to a federally

protected right is substantially likely, and a failure to act upon that likelihood.

Phipps, 681 F. Supp. 2d at 918; Love v. Westville Correctional Center, 103 F.3d 558,

561 (7th Cir. 1996). Both parties apply the deliberate indifference standard here, so

this Court will as well.

      Phipps also involved disabled detainees with ADA and Rehabilitation Act

claims against the Sheriff of Cook County and Cook County, and is instructive on

the application of the deliberate indifference standard here. On these claims, the

Court in Phipps found a triable issue of fact that warranted a trial. 681 F. Supp. 2d

at 916-20.     Defendants had provided shower chairs and other bathroom

accommodations, but refused requests by the disabled detainees for further

accommodations, such as “grab bars” in the shower and accessible sinks. Id. at 918-

19. The Court, relying on the Seventh Circuit’s decision in Love, held that if the

requested modifications were reasonable, then a reasonable jury could find that the

Sheriff of Cook County and Cook County acted with deliberate indifference despite

having provided other accommodations that they viewed as sufficient. Phipps, 681

F. Supp. 2d at 920.

      In Love, Cleo Love was a quadriplegic incarcerated in Westville Correctional

Center. 103 F.3d at 558. Love claimed that the prison had violated the ADA by

failing to provide him with access to various programs and activities. Id. at 558-59.

A jury concluded that, while Westville Correctional Center had violated Love’s

rights, the violation had not been intentional. Id. at 559. Love successfully moved



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for a new trial.     In granting the motion, the district court explained that

discrimination is intentional when the prison denies an inmate greater access to

programs, knowing that the inmate’s disability is the reason that he is not receiving

full access to those programs:

      WCC knew that it was not providing Mr. Love full access to services,
      programs, and activities, knew that Mr. Love’s disability was the
      reason he was not receiving full access to those programs, knew that
      Mr. Love repeatedly requested access, knew that WCC had a legal duty
      to provide Mr. Love with reasonable access, and knew that Mr. Love
      had a right to reasonable access. WCC may not have known that the
      access they were affording Mr. Love was unreasonable, but … WCC
      voluntarily and deliberately denied Mr. Love’s requests for greater
      access to the programs, and did so because of this known disability, not
      because of mistake, accident, negligence, or another innocent reason.
      Mr. Love was not required to prove anything more to establish that the
      discrimination (a separate issue) was intentional.

Love v. McBride, 896 F. Supp. 808, 810 (N.D. Ind. 1995).

      Westville Correctional Center appealed, arguing that it had not intentionally

discriminated against Love. The Seventh Circuit rejected the argument, holding

that the “record at the first trial amply supports the trial judge’s conclusion on the

motion for new trial that Westville indeed committed ‘intentional’ discrimination

against Love.    Its specific knowledge of the ADA’s reasonable accommodation

requirement is legally irrelevant to this finding.” Love, 103 F.3d at 560.

      As a final example, in Kennington v. Carter, No. 02-648, 2004 WL 2137652, at

*8 (S.D. Ind. June 28, 2004) (Tinder, J.), the Court found a triable issue of fact on

the issue of deliberate indifference. As here, prison officials learned during intake

that the detainee was deaf, yet they failed to accommodate him by providing a TTY




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machine to make phone calls at any time during his incarceration, despite the

detainee having made several requests. Id. at *7-8.

      These cases show that there is a triable issue of fact as to intentional

discrimination here. Plaintiff made several requests for housing accommodations

that all were denied. During booking, Plaintiff requested that he be placed in a

handicap accessible living unit.     PSOAF ¶ 7.      Plaintiff was not assigned to an

accessible living unit, so he requested a reassignment, including by asking the jail

superintendent.    DSOF ¶ 41.      Those requests were unsuccessful.     DSOF ¶ 41.

Plaintiff also made several requests up the prison hierarchy for a shower chair, but

those requests too were denied, with the explanation for the denial being:

“somebody might get hurt.” DSOF ¶ 42; PSOAF ¶ 12; 5/15/15 McKinnie Dep. at 33.

As in Love and Kennington, these unsuccessful requests are sufficient to create a

triable issue of fact on the issue of intentional discrimination.

      Defendants construe “somebody might get hurt” (the explanation Plaintiff

received when his request for a shower chair was denied), to mean that security

concerns overrode giving Plaintiff that particular accommodation. Title II of the

ADA requires only that Defendants make “reasonable modifications in policies,

practices, or procedures” when necessary to avoid discrimination.         28 C.F.R. §

35.130(b)(7); accord Phipps, 681 F. Supp. 2d at 920.         Thus not all requests for

accommodations must be honored. Courts recognize that reasonableness concerns

may be heightened in prisons given their security needs. Phipps, 681 F. Supp. 2d at

921 (collecting cases). Here, however, the record is too sparse for this Court to



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determine at summary judgment that Plaintiff’s requested accommodation—just a

shower chair—was unreasonable. As in Phipps, 681 F. Supp. 2d at 922, there is no

evidence that a safety evaluation was made before denying Plaintiff a shower chair.

Defendants also have not shown that any such evaluation would have been

reasonable.   To the contrary, Defendants’ initial safety concerns are difficult to

reconcile with their ultimate decision to provide Plaintiff a shower chair in

February 2013. DSOF ¶¶ 62-63; cf. Phipps, 681 F. Supp. 2d at 922. Even if the

shower chair request was unreasonable, Plaintiff was denied other accommodations

that may be reasonable, such as his request to be reassigned to a handicap

accessible living unit. DSOF ¶ 41; PSOAF ¶ 7.

      Love and Phipps also foreclose granting summary judgment based on

Defendants’ recent efforts to comply with the ADA. See DSOF ¶¶ 71-76, 78-79

(construction of the Residential Treatment Unit, creation of the ADA Compliance

Officer position, implementation of new General Orders, etc.). These efforts, which

post-date Plaintiff’s stay at Cook County Jail, do not deny—and may even

validate—that Plaintiff should have been received a shower chair, “grab bars,” a

housing   reassignment       or   other   reasonable   accommodations   during   his

incarceration.

      For these reasons, Plaintiff may proceed to trial with his ADA and

Rehabilitation Act claims.




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IV.   Conclusion

      Defendants’ motion for summary judgment [49] is granted in part and denied

in part.   Plaintiff thus may not proceed against Sheriff Dart in his individual

capacity on any of his claims.     See McKinnie v. Dart, No. 14-9588, 2015 WL

1117297, at *5 (N.D. Ill. March 10, 2015) (Plaintiff acknowledged that he does not

seek to impose individual liability against Sheriff Dart under the ADA and

Rehabilitation Act). Plaintiff, however, may proceed to trial against Sheriff Dart, in

his official capacity only, and Cook County.      The next status hearing remains

scheduled for October 1, 2015 at 9:45 a.m. in Courtroom 1725.


Dated: September 24, 2015

                                              Entered:




                                              ____________________________
                                              John Robert Blakey
                                              United States District Judge




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